

People v Holley (2021 NY Slip Op 03798)





People v Holley


2021 NY Slip Op 03798


Decided on June 11, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 11, 2021

PRESENT: SMITH, J.P., CARNI, CURRAN, TROUTMAN, AND WINSLOW, JJ. (Filed June 11, 2021.) 


MOTION NO. (737/20) KA 19-01464.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
v LEROY K. HOLLEY, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








